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10

11                      IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF ARIZONA
12

13   VIP Products, L.L.C., an Arizona limited           No. 2:14-cv-02057-SMM
     liability company,
14                                                      RESPONSIVE STATEMENT OF FACTS
                  Plaintiff and Counterdefendant,
15
           v.
16

17   Jack Daniel’s Properties, Inc., a Delaware
     corporation
18
                  Defendant and Counterclaimant.
19

20                Pursuant to Local Rule 56.1, Plaintiff and Counterdefendant VIP Products,
21
     LLC (“VIP”) responds to each numbered paragraph in Defendant and Counterclaimant Jack
22
     Daniel’s Properties, Inc. (“JDPI’s”) Statement of Facts in Support of its Motion for Partial
23
     Summary Judgment (Dkt. 102) (“JDPI SOF”).
24

25

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 1                           RESPONSIVE STATEMENT OF FACTS
 2          1.     Disputed. JDPI has defined the Jack Daniel’s Trade Dress in a variety of ways,
 3   see Answer of Defendant and Counterclaimant Jack Daniel’s Properties, Inc. to Amended
 4   Complaint (Exhibit A – Answer to Amd. Comp.) ¶ 14; Answer and Counterclaims of
 5   Defendant and Counterclaimant Jack Daniel’s Properties, Inc. (Exhibit B – Answer and
 6   Counterclaim) ¶ 6; Deposition Transcript of David Gooder (Exhibit C – Gooder Tr.) at
 7   90:10–92:4; see also Deposition Transcript of Phillip Epps (Exhibit D – Epps Tr.) at 30:22–
 8   31:13, each listing a different set of elements that comprise the Jack Daniel’s Trade Dress.
 9          2.     For purposes of this Motion, this fact is not disputed.
10          3.     For purposes of this Motion, this fact is not disputed.
11          4.     For purposes of this Motion, this fact is not disputed.
12          5.     Disputed. The cited testimony does not support JDPI’s claim that “Jack
13   Daniel’s was the first product that popped up in [Mr. Sacra’s] mind.” Rather, Mr. Sacra
14   testified:
                   Q: Why did you decide to use the idealized image of Jack Daniel's,
15                 rather than the idealized image of another whiskey brand?
16
                   A: As we discussed earlier, when going through the creative
17                 process of trying to come up with different parodies, you start
                   running them through your mind. And as I discussed earlier, this is
18                 the first one that pops up in my mind. It's not easy creating parody.
19   See Deposition Transcript of Stephen Sacra (Exhibit E – Sacra Tr.) at 220:24–221:6. In any
20   event, this assertion is immaterial. See L.R.Civ.56.1 (“The separate statement of facts should
21   include only those facts that the Court needs to decide the motion”).
22          6.     For purposes of this Motion, this fact is not disputed.
23          7.     For purposes of this Motion, this fact is not disputed.
24          8.     For purposes of this Motion, this fact is not disputed.
25          9.     For purposes of this Motion, this fact is not disputed.
26

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 1          10.    For purposes of this Motion, this fact is not disputed.
 2          11.    Disputed. The cited testimony does not support this factual assertion. Ms.
 3   Phillips testified that she recalled “sort of a square shape” bottle, and that “the label” had “a
 4   number on it.” She did not mention a neck label at all, and was explicitly vague in her
 5   reference to the shape of the bottle. (JDPI SOF) ¶ 11.
 6          12.    For purposes of this Motion, this fact is not disputed.
 7          13.    For purposes of this Motion, this fact is not disputed.
 8          14.    For purposes of this Motion, this fact is not disputed.
 9          15.    For purposes of this Motion, this fact is not disputed.
10          16.    For purposes of this Motion, this fact is not disputed.
11          17.    For purposes of this Motion, this fact is not disputed.
12          18.    For purposes of this Motion, this fact is not disputed.
13          19.    VIP does not dispute that Ms. Phillips wanted her design to resemble the Jack
14   Daniel’s label. However, VIP disputes the implication that Ms. Phillips wanted to directly
15   copy the Jack Daniel’s bottle label; in fact, VIP took steps to differentiate its product from
16   the Jack Daniel’s packaging—for example, VIP did not use: a black neck wrap closure, the
17   “OLD NO. 7” mark, the “JACK DANIEL’S MARK,” the words “sour mash whiskey,” and
18   the embossed Jack Daniel’s signature. Additionally, VIP added several distinguishing
19   elements, including a color cartoon dog photo, the “Bad Spaniels” mark. See Physical Copy
20   of SILLY SQUEAKERS® “Bad Spaniels” dog toy (Exhibit F – Bad Spaniels Toy, submitted
21   to the Court pursuant to VIP’s Motion to File Physical Exhibit (Doc. 141)); Declaration of
22   Stephen Sacra ¶ 16 (Exhibit G – Sacra Declar.).
23          20.    For purposes of this Motion, this fact is not disputed.
24          21.    Disputed. VIP objects to Ms. Phillips underlying testimony as speculative:
25                        Q. Do you remember that the mark "Jack Daniel's" appears
26                        in arched format on the Jack Daniel's whiskey label?

27                                                 3
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 1                          A. I don't recall at this moment.
 2                          Q. Do you recall thinking about that at the time you created
                            the second mock-up?
 3
                            A. I assume.
 4
     See Deposition Transcript of Elle Phillips (Exhibit H – Phillips Tr.) at 67:13–19.
 5
     Accordingly, because Ms. Phillips lacked personal knowledge to give this testimony, it is
 6
     inadmissible.
 7
            22.      Disputed. The cited testimony does not support this factual assertion—Ms.
 8
     Phillips testified that she moved the words “Bad Spaniels” outside the banner. (Exhibit H –
 9
     Phillips Tr.) at 66:18–19.
10
            23.      VIP does not dispute that Mr. Sacra liked the second label better than the first,
11
     but disputes the implication that this was due to any similarity between the second label and
12
     the Jack Daniel’s label. Nothing in the cited testimony supports that implication. See JDPI
13
     SOF ¶ 23.
14
            24.      Disputed. This factual assertion is vague and misleading. Ms. Phillips testified
15
     that she used elements from the Bad Spaniels label design to create an art card, not from the
16
     Jack Daniel’s label design. See JDPI SOF ¶ 24.
17
            25.      Disputed. Ms. Phillips testified to adding a disclaimer stating that the Bad
18
     Spaniels toy was not affiliated with Jack Daniels, (Exhibit H – Phillips Tr.) at 74:14–19—no
19
     other “reference” to the Jack Daniel Distillery was made. (Exhibit E – Sacra Tr.) at Exh. 60.
20
            26.      Disputed. Ms. Phillips testified that she developed the Bad Spaniels neck label
21
     by pulling elements from the Bad Spaniels label design—not the Jack Daniel’s label design,
22
     as JDPI claims. She further testified that she did not look at Jack Daniel’s bottle when
23
     designing the neck label. (Exhibit H – Phillips Tr.) at 79:11–18.
24
            27.      For purposes of this Motion, this fact is not disputed.
25

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 1          28.    For purposes of this Motion, the materiality of this assertion is disputed. See
 2   L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the Court
 3   needs to decide the motion”).
 4          29.    Disputed. In Mr. Sacra’s cited testimony, he does not mention who designed
 5   the vinyl bottle component of the Bad Spaniels toy. Additionally, the Bad Spaniels product is
 6   not a vinyl bottle; rather, it is a vinyl bottle-shaped dog toy. (Exhibit F – Bad Spaniels Toy).
 7   In any event, VIP disputed the materiality of this assertion.
 8          30.    Disputed. As mentioned in Paragraph 29, the Bad Spaniels product is a bottle-
 9   shaped dog toy—not an actual bottle. See (Exhibit F – Bad Spaniels Toy). Accordingly, Mr.
10   Sacra sent the referenced email to his toy manufacturer. (Exhibit E – Sacra Tr.) at Exh. 47.
11          31.    For purposes of this Motion, this fact is not disputed.
12          32.    Disputed. VIP’s toy manufacturer did a mark-up of the Bad Spaniels bottle-
13   shaped toy, not of an actual bottle. (Exhibit E – Sacra Tr.) at Exh. 18; (Exhibit F – Bad
14   Spaniels Toy).
15          33.    Disputed. The cited to testimony is misleading because it implies that the
16   photos of the Jack Daniel’s bottle and the mock toy were so similar that “he did not notice
17   any differences at the time.” Rather, Mr. Sacra testified that he did not notice differences
18   between the two because he did not compare the photos, and if he had, he “would have
19   noticed it’s completely different.” (Exhibit E – Sacra Tr.) at 116:8–17. Further, Mr. Sacra did
20   not testify as to which version of the Jack Daniel’s bottle was featured in the photo sent to
21   Mr. Bai. (Exhibit E – Sacra Tr.) at 116:5–15.
22          34.    Disputed to the extent JDPI relies on Mr. Sacra’s testimony as proof that the
23   “pre- and post-2011 bottles were essentially the same”—the post-2011 bottle has several
24   distinct differences from the preceding design, including: (1) squared shoulders; (2) beveled
25   edges; and (3) a “cleaner look than the previous bottle.” See Deposition Transcript of
26

27                                                   5
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 1   Toby Roush (Exhibit I – Roush Tr.) at 94:9–95:10.
 2          35.    In the context of the present Motion, the materiality of this fact is disputed.
 3   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 4   separate statement of facts should include only those facts that the Court needs to decide the
 5   motion.”).
 6          36.    Disputed. As discussed in paragraph 1, JDPI has not defined the Trade Dress’
 7   elements with consistency. However, assuming JDPI refers to the elements listed at
 8   paragraph 1 of its SOF, the Bad Spaniels toy does not copy “all of the elements” that JDPI
 9   claims. See ¶ 19 supra; (Exhibit G – Sacra Declar.)
10          37.    Disputed. There is nothing about “intent” in the cited testimony. See JDPI
11   SOF ¶ 37.
12          38.    Disputed. The cited evidence does not support JDPI’s assertion. Mr. Sacra did
13   not testify that the Bad Spaniels humorous message was directed solely at Jack Daniels, nor
14   that he intended the toy to be associated with Jack Daniel’s alone. Rather, Mr. Sacra testified
15   that his products aim to remind people that its “humorous to sit back and laugh at [consumer
16   culture] and laugh at ourselves.” (Exhibit E – Sacra Tr.) at 216:20–217:3. Further, to the
17   extent that Mr. Sacra testified that he did not intend for the Bad Spaniels toy to target brands
18   like Zackariah Harris and Ezra Brooks, such testimony does not mean that VIP only intended
19   to target Jack Daniels—Mr. Sacra testified that he was parodying “American
20   whiskey/bourbon.” See 30(b)(6) Deposition Transcript of Stephen Sacra (Exhibit J – VIP Tr.)
21   at 110:7–9, 114:2–4, 119:4–9.
22          39.    Disputed. The cited evidence does not support the factual assertion. Mr. Sacra
23   does not testify that VIP has “copied” other well-known brands; he testified that other
24   products, (Exhibit E – Sacra Tr.) at 62:8–15, were the “inspiration” for other Silly Squeakers
25

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 1   toys, or that they were the “imagery that [VIP] mimic[ed].” (Exhibit E – Sacra Tr.) at 44:3–
 2   11.
 3          40.    Disputed. These fragments of Mr. Sacra’s testimony are taken out of context—
 4   Mr. Sacra discusses “success” in terms of effectively executing a parody, not in reference to
 5   high-product sales. Mr. Sacra testified that he intended to “create a parody and create
 6   something funny. And if you look at it and say it’s funny and it incorporates the elements
 7   which I discussed earlier, then we have success.” (Exhibit E – Sacra Tr.) at 67:4–10.
 8          41.    For purposes of this Motion, this fact is not disputed.
 9          42.    Disputed. VIP objects to use of the cited testimony because it lacks
10   foundation—Mr. Sacra is not qualified to testify whether “Jack Daniel’s is more recognizable
11   than other brands” to the consuming public, nor does have personal knowledge as to the
12   money Jack Daniel’s has expended in order to become recognizable. VIP further disputes this
13   assertion because recognition of the Jack Daniel’s brand is immaterial to whether the Jack
14   Daniel’s Trade Dress is recognizable.
15          43.    Disputed. JDPI never produced evidence of Brown-Forman’s tracking studies
16   during discovery, despite VIP’s numerous discovery requests and letters to JDPI’s counsel
17   requesting this information. See Plaintiff’s Motion to Exclude Defendant’s Belatedly
18   Disclosed Supplemental Declaration of Itamar Simonson and Evidence Offered by Phillip
19   Epps (Exhibit K – Motion to Exclude).
20          44.    Disputed. VIP objects to the use of this testimony because it lacks
21   foundation—Ms. Phillips, a graphic designer, is not qualified to testify whether a particular
22   brand is “well known” to the consuming public, and JDPI failed to establish foundation for
23   this testimony. (Exhibit H – Phillips Tr.) at 123:5–25.
24          45.    Disputed. Mr. Wolinsky is not qualified to testify that Jack Daniel’s whiskey is
25   one of the best-selling whiskeys in the U.S., and JDPI failed to established foundation for this
26

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 1   testimony. See Deposition Transcript of Martin Wolinsky (Exhibit L – Wolinsky Tr.) at
 2   61:21–25; Declaration of Martin Wolinsky (Exhibit M – Wolinsky Declar.) ¶ 5.
 3          46.    Disputed. Mr Epps began serving as Jack Daniel’s Global Brand Director on
 4   May 1, 2015. See Declaration of Phillip Epps in Support of Motion for Partial Summary
 5   Judgment (Dkt. #105) (Epps Declar. ¶ 3). Accordingly, the cited testimony is inadmissible
 6   hearsay—Mr. Epp does not have personal knowledge of whether Jack Daniel’s has been sold
 7   “for over 100 years,” and JDPI failed to establish foundation for his testimony.
 8          47.    Disputed. In the cited testimony, Mr. Hungerford relies on A Tennessee
 9   Legend, a book written by Jack Daniel’s Distillery in 1992. This book is inadmissible hearsay
10   because JDPI has failed to authenticate it. Additionally, Mr. Hungerford was hired as a
11   designer by Brown-Forman in 1996. See Declaration of Christopher Hungerford in Support
12   of Motion for Partial Summary Judgment (Dkt. #106) (Hungerford Declar. ¶ 2). Accordingly,
13   he could not have personal knowledge as to whether, “[b]y the mid-1950’s, the packaging
14   and labeling for Jack Daniel’s whiskey had taken the basic from in which it has appeared
15   ever since,” and JDPI failed to establish foundation for this testimony.
16          48.    Disputed. The cited testimony does not show that Mr. Wolinsky “agreed that
17   the elements of the Jack Daniel’s label . . . have remained essentially the same for many
18   decades.” Rather, Mr. Wolinsky was shown a series of Jack Daniel’s bottles, and asked
19   whether each of the bottles had “a square shape,” (Exhibit L – Wolinsky Tr.) at 163:20–22;
20   “a black cap,” Id. at 164:4–6; a black neck wrap with Old No. 7 in white printing, Id. at
21   164:7–13; a “black front label with white printing and a filigreed border,” Id. at 164:14–17;
22   “the Jack Daniel’s mark depicted in arch lettering at the top of the label,” Id. at 164:18–21;
23   “the Old No. 7 mark within a filigreed oval design in the middle portion of the label beneath
24   the Jack Daniel’s mark,” Id. at 164:22–165:1; and “the words ‘Tennessee Sour Mash
25   Whiskey’ . . . in the lower portion of the label with the word ‘Tennessee’ in script.” Id. at
26

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 1   165:2–6. Mr. Wolinsky also noted that the several of the earlier bottles were more “rounded”
 2   than the current bottle, Id. at 163:23–25, and observed that the “Old No. 7” mark inside the
 3   filigreed oval design “moves as the brand evolves.” Id. at 165:1. Further, VIP disputes JDPI’s
 4   assertion that the Jack Daniel’s packaging has “essentially remained the same for decades”;
 5   the evidence shows that Brown-Forman changed the packaging in 2011.
 6          49.    Disputed. The evidence shows that Brown-Forman redesigned the Jack
 7   Daniel’s packaging in 2011. See Deposition of Michael Taylor (Exhibit N – Taylor Tr.) at
 8   8:9–10:21. Accordingly, JDPI cannot rely on evidence of packaging exposure from prior to
 9   the 2011 redesign. Further, to the extent that this evidence relates to the redesigned
10   packaging, Mr. Epps lacks personal knowledge to testify about any packaging exposure that
11   occurred prior to May 1, 2015. (Epps Declar. ¶ 3).
12          50.    Disputed. Mr. Epps began serving in his current role with Brown-Forman on
13   May 1, 2015. (Epps Declar. ¶ 3). Accordingly, the cited testimony is inadmissible hearsay—
14   Mr. Epps does not have personal knowledge of whether Jack Daniel’s was the best-selling
15   whiskey in the U.S. from 1997 to the April 31, 2015, and JDPI failed to establish foundation
16   for his testimony.
17          51.    Disputed. Mr. Epps began serving in his current role with Brown-Forman on
18   May 1, 2015. (Epps Declar. ¶ 3). Therefore, Mr. Epps does not have personal knowledge of
19   Jack Daniel’s sales prior to May 1, 2015, and JDPI has not established foundation for his
20   testimony. For these same reasons, Mr. Epps does not have personal knowledge of whether
21   the “vast majority” of those sales “were in packaging bearing the Jack Daniel’s Trade Dress.”
22          52.    Disputed. The cited evidence does not support this assertion.
23          53.    Disputed. The cited testimony is inadmissible hearsay. Mr. Epps began serving
24   in his current role with Brown-Forman on May 1, 2015. (Epps Declar. ¶ 3). Therefore, he
25   does not have personal knowledge of when JDPI’s print advertising campaign began.
26

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 1   Additionally, Mr. Epps does not have personal knowledge to support his claim that this
 2   campaign is one of “the longest-running consumer advertising campaigns in American
 3   history.” JDPI failed to establish foundation to support Mr. Epps’ testimony in either respect.
 4          54.    Disputed. The cited testimony does not show that JDPI’s print advertising
 5   highlights the Jack Daniel’s packaging. In fact, JDPI admitted that it “and its licensee Brown-
 6   Forman . . . do not advertise and promote the Jack Daniel’s Trade Dress per se but rather
 7   products sold in the Jack Daniel’s Trade Dress.” See Defendant and Counterclaimant Jack
 8   Daniel’s Properties, Inc.’s Responses to Plaintiff and Counter-Defendant’s First Set of
 9   Request for Production of Documents (Exhibit O – Responses to RFP) ¶1–2.
10          55.    Disputed. The cited testimony is inadmissible hearsay. Mr. Epps began serving
11   in his current role with Brown-Forman on May 1, 2015. (Epps Declar. ¶ 3). Therefore, he
12   does not have personal knowledge on JDPI’s advertising expenditures prior to then, and JDPI
13   failed to establish foundation for this testimony.
14          56.    Disputed. The cited testimony is inadmissible hearsay. Mr. Epps began serving
15   in his current role with Brown-Forman on May 1, 2015. (Epps Declar. ¶ 3). Therefore, he
16   does not have personal knowledge on the focus of JDPI’s marketing campaigns prior to that
17   time, and JDPI has failed to establish foundation for this testimony.
18          57.    Disputed. The cited evidence does not show that the Jack Daniel’s packaging
19   has been “highlighted” in most of JDPI’s television and online advertising. JDPI admitted
20   that it “and its licensee Brown-Forman . . . do not advertise and promote the Jack Daniel’s
21   Trade Dress per se but rather products sold in the Jack Daniel’s Trade Dress.” (Exhibit O –
22   Responses to RFP).
23          58.    Disputed. The cited testimony is inadmissible hearsay. As stated in paragraph
24   50, Mr. Epps began serving in his current role with Brown-Forman on May 1, 2015. (Epps
25   Declar. ¶ 3). Therefore, he does not have personal knowledge of JDPI’s advertising
26

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 1   expenditures prior to that time, and JDPI has not established foundation for this testimony.
 2   Further, VIP challenges the materiality of this assertion. See L.R.Civ.56.1 (“The separate
 3   statement of facts should include only those facts that the Court needs to decide the motion”).
 4          59.    Disputed. The cited testimony is inadmissible hearsay. Mr. Epps began serving
 5   in his current role with Brown-Forman on May 1, 2015. (Epps Declar. ¶ 3). Therefore, he
 6   does not have personal knowledge on JDPI’s annual advertising budget prior to 2015, and
 7   JDPI has not established foundation for this testimony. Further, VIP challenges the
 8   materiality of this assertion. See L.R.Civ.56.1 (“The separate statement of facts should
 9   include only those facts that the Court needs to decide the motion”).
10          60.    Disputed. The cited movie clips do not all feature the Jack Daniel’s packaging
11   entirely, and some do not feature the packaging at all—at most, the Jack Daniel’s packaging
12   only appears as a prop, and is not the focus of the cited evidence. (Epps Declar. Exhibit 5).
13   Additionally, most of the cited films were made prior to 2011, and, if anything, feature a
14   version of the Jack Daniel’s packaging that is not at issue in this litigation. Accordingly, this
15   evidence is immaterial. See L.R.Civ.56.1 (“The separate statement of facts should include
16   only those facts that the Court needs to decide the motion”).
17          61.    Disputed. The cited TV clips do not all feature the Jack Daniel’s packaging
18   entirely, and some do not feature the packaging at all—at most, the Jack Daniel’s packaging
19   only appears as a prop, and is not the focus of the cited evidence. (Epps Declar. Exhibit 7).
20   Additionally, several of the cited TV clips were filmed prior to 2011, and, if anything, feature
21   a version of the Jack Daniel’s packaging that is not at issue in this litigation. Accordingly,
22   this evidence is immaterial. See L.R.Civ.56.1 (“The separate statement of facts should
23   include only those facts that the Court needs to decide the motion”).
24          62.    Disputed. The cited to evidence does not feature the Jack Daniel’s packaging
25   and, at most, merely mentions the name “Jack Daniel’s.” (Epps Declar. Exhibit 7).
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 1   Accordingly, this evidence is immaterial because it is unnecessary to JDPI’s Motion for
 2   Summary Judgment. See L.R.Civ.56.1 (“The separate statement of facts should include only
 3   those facts that the Court needs to decide the motion”).
 4          63.      Disputed. The cited to evidence does not support the assertion that Brown-
 5   Forman frequently uses a large inflatable version of the Jack Daniel’s packaging at its “Jack
 6   Daniel’s experience.” See JDPI SOF ¶ 63.
 7          64.      Disputed. This is not a fact; Mr. Epps gives his opinion that Jack Daniel’s
 8   website “prominently” features the Jack Daniel’s whiskey packaging. Additionally, the cited
 9   evidence does not show how many people visited the website. (Epps Declar. Exhibit 8).
10          65.      Disputed. The cited evidence does not support JDPI’s assertion that the Jack
11   Daniel’s packaging “appears on social media pages for the brand.” JDPI has only provided
12   photos of its Twitter feed, which, by nature, is ever-changing. (Epps Declar. Exhibit 9).
13          66.      Disputed. Mr. Epps lacks personal knowledge of how long the Jack Daniel’s
14   Distillery has been in operation for, as well as how many visitors it had in 2014. (Epps
15   Declar. ¶ 3).
16          67.      Disputed. The question improperly asks Mr. Sacra to reach a legal conclusion,
17   which is a job reserved for the fact finder. Additionally, Mr. Sacra is not a legal expert, and
18   lacks foundation to opine on legal standards.
19          68.      Immaterial. See L.R.Civ.56.1 (“The separate statement of facts should include
20   only those facts that the Court needs to decide the motion”).
21          69.      Disputed. Mr. Sacra’s report did not focus “only on four elemental features”—
22   while Mr. Sacra devotes a significant portion of his analysis to those elements, he also
23   analyzes bottles with: filigrees, embossed signatures, the number 7, and the words “old no.”
24   See American Whiskey/Bourbon Report by Stephen Sacra and 2 Hour Test (Exhibit P - Sacra
25   Report) pp. 57–60. In any event, this assertion is immaterial—regardless of what the report
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 1   “focuses on,” the report reveals that the combination of elements used in the Trade Dress are
 2   widely used in the bourbon/Tennessee whiskey market.
 3          70.    Disputed. The examiner’s question improperly asks Mr. Wolinsky to define the
 4   legal term “trade dress.” (Exhibit L – Wolinsky Tr.) at 176:10 –11. Mr. Wolinsky is not a
 5   legal expert, and accordingly, doesn’t “have any understanding” of legal terms of art.
 6   (Exhibit L – Wolinsky Tr.) at 176:12–13. Further, this fact is immaterial as it is unnecessary
 7   to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The separate statement of facts
 8   should include only those facts that the Court needs to decide the motion.”).
 9          71.    Disputed. The cited testimony does not support that Mr. Wolinsky’s report
10   only focused on the “four elemental elements”—while Mr. Wolinsky’s report makes
11   reference to these four elements, it also states that the “overall Jack Daniel’s Tennessee
12   Whiskey packaging is not distinctive (not Unique) in the bourbon/Tennessee whiskey
13   segment” of the whiskey market. See Rule 26 Expert Report of Martin Wolinsky (Exhibit Q –
14   Wolinsky Report) p. 6. Additionally, Mr. Wolinsky’s comparison of “Uniform vs. a Unique
15   Bourbon Package” on page 9 of his report focuses on the overall look of various packaging,
16   rather than focusing on any specific design feature. (Exhibit Q – Wolinsky Report) p. 9.
17   Further, this fact is immaterial as it is unnecessary to JDPI’s Motion for Summary Judgment.
18   See L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the
19   Court needs to decide the motion.”).
20          72.    Disputed. Mr. Wolinsky did not testify that he did not know why he did not
21   “include the omitted elements”—rather, he testified that he could not answer the question:
22   “Why didn’t you reference the additional elements that are claimed in there in your report?”
23   (Exhibit L – Wolinsky Tr.) at 158:16–18. Additionally, as discussed in Paragraph 71 supra,
24   Mr. Wolinsky’s report contains several references to the overall Jack Daniel’s packaging. See
25   (Exhibit Q – Wolinsky Report), pp. 6, 9.
26

27                                                 13
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 1          73.    Disputed. JDPI cites to unrelated portions of Mr. Wolinsky’s testimony, which
 2   do not support JDPI’s assertion. As discussed in Paragraph 71 supra, while Mr. Wolinsky did
 3   extrapolate individual elements of the Trade Dress in his report, he also considered the
 4   overall appearance of the Trade Dress. (Exhibit Q – Wolinsky Report), pp. 6, 9.
 5          74.    Disputed. JDPI’s cannot rely on this portion of Mr. Wolinsky’s testimony
 6   because, as discussed in paragraph 75 of JDPI’s statement of facts, Mr. Wolinsky
 7   misunderstood the question, rendering his answer to that question unreliable. Compare
 8   Wolinsky Tr. 161:10 –13 with id. at 263.
 9          75.    For purposes of this Motion, this fact is not disputed. But see ¶ 74 supra.
10          76.    Disputed. Mr. Wolinsky did not testify that he understood that JDPI was
11   seeking rights in the four elements identified in his report. Rather, the examiner assumed that
12   this was Mr. Wolinsky’s understanding: “Well, to make the statement that giving Jack
13   Daniel's the exclusive right to use those elements certainly indicates to me that you thought
14   that that's what Jack Daniel's was trying to do in this case. Where did you get that
15   understanding?” (Exhibit L – Wolinsky Tr.) at 244:17–21. In any event, VIP challenges the
16   materiality of this evidence. See L.R.Civ.56.1 (“The separate statement of facts should
17   include only those facts that the Court needs to decide the motion.”)
18          77.    Disputed. Mr. Wolinsky testified that he is not a legal expert, and that he does
19   not have personal knowledge of what “distinctive” means when used as a legal term of art.
20   (Exhibit L – Wolinsky Tr.) at 176:21–24 (“Again, once you said trademark law, I have no
21   understanding.”). Mr. Wolinsky only used the word “distinctive” in his report based on his
22   understanding of what it means: that a packaging “looks like it’s not part of the uniform.
23   Against, the words that I used repeatedly were ‘uniform’ and ‘first cousin,’ so it doesn’t look
24   like part of a uniform.” (Exhibit L – Wolinsky Tr.) at 177:9–17, 73:18–21; (Exhibit Q –
25   Wolinsky Report), p. 6. Further, it is immaterial that Mr. Wolinsky was not familiar with
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 1   legal   terms    such   as   “distinctiveness,”    “inherent    distinctiveness,”   and   “acquired
 2   distinctiveness.” L.R.Civ.56.1 (“The separate statement of facts should include only those
 3   facts that the Court needs to decide the motion.”).
 4           78.     Disputed. Mr. Wolinsky is not a legal expert, and even testified that he had
 5   never heard of the term “acquired distinctiveness.” (Exhibit L – Wolinsky Tr.) at 177:3–5.
 6   Accordingly, VIP objects to use of this testimony because Mr. Wolinsky lacks personal
 7   knowledge to opine on trademark law issues. Further, the fact that Mr. Wolinsky did not
 8   know the various means of which a packaging could “acquire distinctiveness” is immaterial.
 9   L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the Court
10   needs to decide the motion.”).
11           79.     Disputed. Mr. Wolinsky is not a legal expert and is not qualified to opine on
12   the legal significance of VIP’s intentional copying of the Jack Daniel’s Trade Dress. See
13   (Exhibit L – Wolinsky Tr.) at 176:21–24
14           80.     Disputed. Contrary to JDPI’s claim, Mr. Wolinsky did not opine “that distilled
15   spirits packaging falls into one of two categories”—rather, Mr. Wolinsky testified that he
16   evaluated distinctiveness on a continuum. (Exhibit L – Wolinsky Tr.) at 177:21–25; 178:16–
17   20, 179:5–8. Further, page 14 of Mr. Wolinsky’s report makes clear that he evaluated
18   distinctiveness on a continuum. (Exhibit Q – Wolinsky Report), p. 14.
19           81.     Disputed. Mr. Wolinsky used the term “distinctive” based on his understanding
20   of the word—he did not use it as a legal term of art. (Exhibit L – Wolinsky Tr.) at 176:21–24,
21   177:9–17.
22           82.     Disputed. Mr. Wolinsky’s report speaks for itself.
23           83.     Disputed. As stated in paragraph 80, Mr. Wolinsky’s testimony and report
24   confirm that he evaluated the bottles in his report on a distinctiveness continuum. (Exhibit L
25   – Wolinsky Tr.) at 177:21–25; 178:16–20, 179:5–8; (Exhibit Q – Wolinsky Report), p. 14.
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 1          84.      In the context of the present Motion, the materiality of this fact is disputed.
 2   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 3   separate statement of facts should include only those facts that the Court needs to decide the
 4   motion.”).
 5          85.      VIP disputes this assertion to the extent that it implies that Mr. Wolinsky gave
 6   a legal opinion on distinctiveness. Mr. Wolinsky used the term “distinctive” based on his
 7   understanding of the word—he did not use it as a legal term of art (Exhibit L – Wolinsky Tr.)
 8   at 176:21–24, 177:9–17. Additionally, Mr. Wolinsky is not a legal expert, and lacks
 9   foundation to opine about legal conclusions.
10          86.      Disputed. Mr. Wolinsky used the term “distinctive” based on his understanding
11   of the word—he did not use it as a legal term of art (Exhibit L – Wolinsky Tr.) at 176:21–24,
12   177:9–17. Further, Mr. Wolinsky is not a legal expert, and lacks foundation to opine about
13   legal conclusions.
14          87.      This assertion is disputed to the extent that JDPI implies that Mr. Wolinsky
15   gave a legal opinion on distinctiveness. Mr. Wolinsky is not qualified as a legal expert, and
16   lacks foundation to offer such an opinion (Exhibit L – Wolinsky Tr.) at 176:21–24, 177:9–17;
17   (Exhibit M – Wolinsky Declar.) ¶ 9.
18          88.      Disputed. The examiner’s question is ambiguous with respect to the term
19   “generic.” Further, VIP objects to the extent that the question improperly asks Mr. Wolinsky
20   to reach a legal conclusion. Mr. Wolinsky testified that he understands the term “generic” in
21   terms of price, and that he did not understand what the term meant in trademark law. (Exhibit
22   L – Wolinsky Tr.) at 182:8–13, 183:1–3, 184:17–20, 185:13–21; (Exhibit M – Wolinsky
23   Declar.) ¶ 9.
24          89.      Disputed. Mr. Wolinsky used the phrase “aesthetic functionality” based on his
25   understanding of the two terms, and has no understanding of how it is used in trademark law
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 1   (Exhibit L – Wolinsky Tr.) at 241:14–22, 73:25–74:5. Accordingly, this testimony is
 2   immaterial. L.R.Civ.56.1 (“The separate statement of facts should include only those facts
 3   that the Court needs to decide the motion.”).
 4          90.    Disputed. Mr. Wolinsky is not qualified to offer opinions on the legal meaning
 5   of “aesthetic functionality.” Mr. Wolinsky testified that he used the terms “aesthetic” and
 6   “functionality” under their common meanings (Exhibit L – Wolinsky Tr.) at 241:14–22,
 7   73:25–74:5.
 8          91.    Disputed. The cited testimony does not support the fact asserted; Mr. Wolinsky
 9   testified about products depicted in his report—not the brands that make those products
10   (Exhibit L – Wolinsky Tr.) at 186:22–187:1; 189:7–12. Further, VIP disputes the materiality
11   of this evidence. See L.R.Civ.56.1 (“The separate statement of facts should include only
12   those facts that the Court needs to decide the motion”).
13          92.    Disputed. The cited testimony does not support JDPI’s factual assertion. Mr.
14   Wolinsky testified that other companies would be disadvantaged if they were prevented from
15   using the “standard industry uniform that identifies any whiskey as an American whiskey.”
16   (Exhibit M – Wolinsky Declar.) ¶ 12. Further, VIP objects to use of this testimony because
17   Mr. Wolinsky is not qualified as a legal expert, and lacks foundation to opine on the legal
18   consequences of any particular result of this case.
19          93.    Disputed. The cited testimony does not support JDPI’s factual assertion. Mr.
20   Wolinsky’s opinion is that, if JDPI can claim exclusive rights to using the Jack Daniel’s
21   Trade Dress, it may harm market competitors and entrants in the future because the design is
22   symbolic of bourbon and Tennessee whiskey. (Exhibit M – Wolinsky Declar.) ¶ 12. JDPI’s
23   own market research confirms that consumers expect any brand of bourbon or Tennessee
24   whiskey to appear in a square bottle with a fluted neck. See Deposition Transcript of
25   Christopher Hungerford (Exhibit R – Hungerford Tr.) at 93:5–11.
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 1          94.    Disputed. JDPI has filed lawsuits against (and entered into settlement
 2   agreements with) several of its competitors for using a similar bottle design to the Jack
 3   Daniel’s Trade Dress. See JDPI-CON000312–328, 790–797 (Exhibit S – Sweet Revenge);
 4   JDPI000288–319 (Exhibit T - Popcorn Sutton). In any event, VIP disputes the materiality of
 5   this assertion. See L.R.Civ.56.1 (“The separate statement of facts should include only those
 6   facts that the Court needs to decide the motion.”).
 7          95.    Disputed. The cited evidence does not support that the Jack Daniel’s packaging
 8   “embodies design choices that are not based on any considerations of utility.” For example,
 9   in Mr. Hungerford’s deposition, he testified that the bottle neck wrap provides evidence of
10   tampering (Exhibit R – Hungerford Tr.) at 104:2–14. In any event, VIP disputes that
11   materiality of this assertion. See L.R.Civ.56.1 (“The separate statement of facts should
12   include only those facts that the Court needs to decide the motion.”).
13          96.    Disputed. The cited testimony references the wrong market. As discussed in
14   Mr. Wolinsky’s report, when examining the Jack Daniel’s packaging in comparison with
15   other market competitors, the focus must be narrowed to the bourbon/Tennessee segment of
16   the whiskey market. (Exhibit Q – Wolinsky Report), p. 5. Additionally, Mr. Sacra testified
17   that he focused his report on the American bourbon/whiskey industry because that was
18   “staying with the parody of American whiskey/bourbon. And to do something that was
19   outside the scope of that would be overly broad.” (Exhibit J – VIP Tr.) at 110:2–19, 113:19–
20   22.
21          97.    For purposes of this Motion, this fact is not disputed.
22          98.    For purposes of this Motion, this fact is not disputed.
23          99.    For purposes of this Motion, this fact is not disputed.
24          100.   Disputed. Mr. Howard does not have personal knowledge as to whether the
25   “shaping of the Jack Daniel’s bottle is ‘part of a marketing program to make the bottle
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 1   distinctive from competitors.’” Additionally, Mr. Howard’s use of the phrase “I think”
 2   supports that he did not base his on personal knowledge. See Deposition Transcript of John
 3   Howard (Exhibit U – Howard Tr.) at 204:25–205:6.
 4          101.   Disputed. Mr. Howard is a packaging expert and was offered for the narrow
 5   purpose of proving functionality. See Rule 26 Expert Report of John Howard (Exhibit V –
 6   Howard Report), pp. 2, 10–11. Mr. Howard is not qualified to offer his opinion—legal or
 7   otherwise—on whether the Jack Daniel’s bottle is distinctive.
 8          102.   For purposes of this Motion, this fact is not disputed.
 9          103.   Disputed. Mr. Howard is not qualified to opine on whether the “overall shape
10   of the Jack Daniel’s bottle” identifies the contents as a Jack Daniel’s product—Mr. Howard
11   was offered for the narrow purpose of showing utilitarian functionality, and cannot speak to
12   issues outside that scope. (Exhibit V – Howard Report), pp. 2, 10–11. Further, JDPI
13   improperly cites Mr. Howard’s testimony as support for its legal conclusion that the “overall
14   shape of the Jack Daniel’s bottle” is a source identifier for Jack Daniel’s whiskey.
15          104.   Disputed. JDPI improperly relies on Mr. Howard’s testimony in claiming that
16   “the shape of the bottle is even more eye-catching than the ‘Jack Daniel’ signature and does
17   more to identify the product as coming from Jack Daniel’s. (Exhibit U – Howard Tr.) at
18   108:10–109:6. Mr. Howard’s expertise is limited to the utilitarian functions of product
19   packaging, and is not qualified to opine on consumer perception of the Jack Daniel’s
20   embossed signature and bottle shape. (Exhibit V – Howard Report), pp. 2, 10–11.
21          105.   Disputed. Mr. Howard is not a legal expert, and lacks foundation to offer an
22   opinion about trademark infringement. (Exhibit V – Howard Report), pp. 2, 10–11.
23          106.   Disputed. Mr. Howard is not a legal expert and not qualified to offer an
24   opinion about the legal definition of a trademark. (Exhibit V – Howard Report), pp. 2, 10–11.
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 1          107.   Disputed. Mr. Howard is not qualified to opine on whether the Jack Daniel’s
 2   embossed signature qualifies as “branding.” Mr. Howard also is not qualified to discuss what
 3   aspects of the signature are “important.” (Exhibit V – Howard Report) PP. 2, 10–11.
 4          108.   In the context of the present Motion, the materiality of this fact is disputed.
 5   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 6   separate statement of facts should include only those facts that the Court needs to decide the
 7   motion.”).
 8          109.   For purposes of this Motion, this fact is not disputed.
 9          110.   In the context of the present Motion, the materiality of this fact is disputed.
10   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
11   separate statement of facts should include only those facts that the Court needs to decide the
12   motion.”).
13          111.   Disputed. Mr. Howard is not a legal expert and cannot testify as to what
14   qualifies as “touting utilitarian advantages” in the legal sense. See Declaration of John
15   Howard (Exhibit W – Howard Declar.) ¶ 4; (Exhibit V – Howard Report) PP. 2, 10–11.
16          112.   Disputed. Mr. Howard is not a legal expert and cannot testify as to what
17   qualifies as “touting utilitarian advantages” in the legal sense. (Exhibit W – Howard Declar.)
18   ¶ 4; (Exhibit V – Howard Report) PP. 2, 10–11. Further, VIP disputes the materiality of this
19   assertion. See L.R.Civ.56.1 (“The separate statement of facts should include only those facts
20   that the Court needs to decide the motion.”).
21          113.   Disputed. This testimony does not support JDPI’s assertion that no other Jack
22   Daniel’s advertising touted the utilitarian advantages of the Jack Daniel’s bottle design. Mr.
23   Howard’s testimony was limited to the specific ads shown in exhibit 87 to the Howard
24   Deposition Transcript. JDPI’s factual assertion is also controverted by JDPI’s bottle research,
25   which discusses the utilitarian advantages of the bottle design. Additionally, VIP objects to
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 1   JDPI’s use of this testimony because Mr. Howard lacks foundation to opine on Jack Daniel’s
 2   marketing efforts.
 3          114.     Disputed. Mr. Howard’s cited testimony was limited to direct manufacturing
 4   costs. (Exhibit W – Howard Declar.) ¶ 6. Additionally, Mr. Howard’s report contradicts
 5   JDPI’s assertion by making clear that square bottles provide for easier labeling and filling.
 6   (Exhibit V – Howard Report) pp. 3–4, 6; (Exhibit U – Howard Tr.) at 210:21–211:9.
 7          115.     VIP does not dispute that Mr. Howard has no personal knowledge of the cost to
 8   manufacture the Jack Daniel’s bottle specifically. However, it does dispute this assertion to
 9   the extent it implies that Mr. Howard lacks knowledge of manufacturing costs associated
10   with liquor bottles in general. Mr. Howard has worked in the packaging industry for almost
11   30 years, and has extensive knowledge of the packaging manufacturing process. (Exhibit V –
12   Howard Report), p.2.
13          116.     Disputed. Mr. Howard’s cited testimony was limited to direct manufacturing
14   costs. See (Exhibit W – Howard Declar.) ¶ 6. Additionally, Mr. Howard’s report contradicts
15   JDPI’s assertion by making clear that square bottles provide for easier labeling and filling.
16   (Exhibit V – Howard Report), pp. 3–4, 6; (Exhibit U – Howard Tr.) at 210:21–211:9.
17          117.     Disputed. Mr. Howard’s report makes clear that square bottles’ increased
18   manufacturing cost are offset because they are easier to label and fill. (Exhibit V – Howard
19   Report), pp. 3–4, 6; (Exhibit U – Howard Tr.) at 210:21–211:9; (Exhibit W – Howard
20   Declar.) ¶ 6.
21          118.     Disputed. JDPI improperly relies on this testimony because Mr. Howard had
22   no personal knowledge of why “so few” liquor producers use square bottles with embossed
23   signatures. Mr. Howard merely speculated that he “would imagine,” and was “assuming,”
24   that this was due to the “greater cost and complexity” involved in manufacturing such a
25   bottle. Additionally JDPI’s assertion is contradicted by Howard’s testimony that the square
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 1   bottles and embossed signatures have utilitarian advantages. (Exhibit V – Howard Report),
 2   pp. 3–4, 6; (Exhibit W – Howard Declar.) ¶ 11.
 3          119.   Disputed. Mr. Howard’s cited testimony does not support JDPI’s claim that the
 4   “features of the mark shown in the Registration do not affect the cost or quality of Jack
 5   Daniel’s whiskey.” Mr. Howard’s report makes clear that the square bottle, the fluted neck,
 6   and the embossed signature all have advantages that affect the cost or quality of Jack
 7   Daniel’s whiskey. (Exhibit V – Howard Report), pp. 3–4, 6.
 8          120.   In the context of the present Motion, the materiality of this fact is disputed.
 9   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
10   separate statement of facts should include only those facts that the Court needs to decide the
11   motion.”).
12          121.   Disputed. JDPI’s factual statement is controverted by Mr. Howard’s testimony
13   and report, which states that a square bottle shape reduces the cost of producing, filing,
14   labeling, packing, and displaying a bottle. (Exhibit V – Howard Report), pp. 3–4, 6; (Exhibit
15   W – Howard Declar.) ¶¶ 6 –10.
16          122.   Disputed. The cited testimony does not indicate that Mr. Howard has never
17   asked any retailers how they determine facings; however, he actually testified that, while he
18   had asked some store personnel about palletizing, their conversation didn’t address how they
19   determine the number of facings (Exhibit U – Howard Tr.) at 141:10–17. That does not mean
20   that Mr. Howard has never spoken with retailers about this in the past. In any event, VIP
21   challenges the materiality of this assertion. See L.R.Civ.56.1 (“The separate statement of
22   facts should include only those facts that the Court needs to decide the motion.”).
23          123.   Disputed. The two testimonies that JDPI relies on contradict one another and
24   create an issue of fact. Specifically, Mr. Howard testified that the shape of the bottle affects
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 1   the number of facings, and Mr. Taylor disagreed. Compare (Exhibit U – Howard Tr.)
 2   141:21–25 with JDPI SOF ¶ 123.
 3          124.   Disputed. JDPI’s asserts that “Mr. Howard would have to measure shelf space
 4   to determine” whether a “retailer could display a larger number of” square bottles than round
 5   bottles. This is contradicted by Mr. Howard’s testimony that he took pictures so that he could
 6   count the number of square bottles displayed versus the number of round bottles displayed.
 7   (Exhibit U – Howard Tr.) at 94:1–8. Further, VIP disputes the materiality of this testimony.
 8   See L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the
 9   Court needs to decide the motion.”).
10          125.   Disputed. This assertion is rebutted by Mr. Howard’s testimony that he took
11   pictures so that he could compare the pallets, store shelves, and bottles after his visit (Exhibit
12   U – Howard Tr.) at 94:1–8. Further, VIP disputes the materiality of this testimony. See
13   L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the Court
14   needs to decide the motion.”).
15          126.   In the context of the present Motion, the materiality of this fact is disputed.
16   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
17   separate statement of facts should include only those facts that the Court needs to decide the
18   motion.”).
19          127.   Disputed. The cited testimony does not support JDPI’s assertion. While Mr.
20   Howard testified that he measured a carton, he did not testify that he only looked at one
21   carton. This assertion is also disputed by Mr. Howard’s report, which makes clear that he has
22   professional experience in designing cartons. (Exhibit V – Howard Report), PP. 6–7, 10.
23          128.   Disputed. Mr. Howard’s report makes clear that he has professional experience
24   in designing cartons. (Exhibit V – Howard Report), PP. 6–7, 10. Additionally, VIP disputes
25   the materiality of this assertion because it is unnecessary to decide JDPI’s Motion for
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 1   Summary Judgment. See L.R.Civ.56.1 (“The separate statement of facts should include only
 2   those facts that the Court needs to decide the motion.”).
 3          129.   Disputed. Mr. Howard’s report makes clear that he has professional experience
 4   in designing cartons. (Exhibit V – Howard Report), PP. 6–7, 10. Additionally, VIP disputes
 5   the materiality of this assertion because it is unnecessary to decide JDPI’s Motion for
 6   Summary Judgment. See L.R.Civ.56.1 (“The separate statement of facts should include only
 7   those facts that the Court needs to decide the motion.”).
 8          130.   In the context of the present Motion, the materiality of this fact is disputed.
 9   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
10   separate statement of facts should include only those facts that the Court needs to decide the
11   motion.”).
12          131.   In the context of the present Motion, the materiality of this fact is disputed.
13   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
14   separate statement of facts should include only those facts that the Court needs to decide the
15   motion.”).
16          132.   Disputed. Mr. Howard’s report makes clear that he has information about
17   cartons and pallet sizes based on his professional experience. (Exhibit V – Howard Report),
18   PP. 4, 6–7, 10. Additionally, VIP disputes the materiality of this assertion because it is
19   unnecessary to decide JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
20   separate statement of facts should include only those facts that the Court needs to decide the
21   motion.”).
22          133.   Disputed. Mr. Howard’s report makes clear that he has personal knowledge of
23   “palletization.” (Exhibit V – Howard Report), PP. 4, 6–7, 10. Additionally, VIP disputes the
24   materiality of this assertion because it is unnecessary to decide JDPI’s Motion for Summary
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 1   Judgment. See L.R.Civ.56.1 (“The separate statement of facts should include only those facts
 2   that the Court needs to decide the motion.”).
 3          134.   Disputed. The cited testimony does not support JDPI’s factual assertion. Mr.
 4   Howard does not say he “has no idea” what types of retail outlets use pallet displays were
 5   used. Rather, he simply says that he does not know how often they are used because he only
 6   went to “three different outlets.” (Exhibit U – Howard Tr.) at 160:14.
 7          135.   Disputed. JDPI’s factual assertion is not supported by the cited testimony. Mr.
 8   Howard testified that he did not know “off the top of [his] head” what the dimensions of a
 9   standard-sized pallet are. This assertion is rebutted by Mr. Howard’s report, which makes
10   clear that his personal experience qualifies him to discuss pallet sizes. (Exhibit V – Howard
11   Report), PP. 4, 6–7, 10. Additionally, VIP disputes the materiality of this assertion because it
12   is unnecessary to decide JDPI’s Motion for Summary Judgment.
13          136.   Disputed. While Mr. Howard does not have personal knowledge about the
14   relative pallet sizes used by Brown-Forman in particular, Mr. Howard is qualified to discuss
15   pallet sizes generally. (Exhibit V – Howard Report), PP. 4, 6–7, 10.
16          137.   This is assertion is disputed to the extent that this is interpreted as
17   contradicting Mr. Howard’s opinion that, “[f]rom a palletizing and shipping standpoint, the
18   cartons for square bottles fit better on a standard pallet size, which eliminates additional costs
19   and reduces the likelihood of damage.” (Exhibit V – Howard Report), p. 7. VIP also disputes
20   the materiality of this assertion.
21          138.   Disputed. The cited testimony does not support JDPI’s assertion that one can
22   fix labeling problems on round bottles by making the labels smaller in size. Rather, Mr.
23   Howard’s report makes clear that, generally, square bottles are more effective for displaying
24   bottle labels. (Exhibit V – Howard Report), PP. 4, 6.
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 1         139.   Disputed. JDPI’s depiction of Mr. Howard’s testimony is misleading. While
 2   Mr. Howard did testify that the visibility of the Jack Daniel’s bottle’s sides is “not a
 3   problem,” he says so based on his opinion that the primary forward-facing label is more
 4   visible than if it were displayed on a round bottle (Exhibit U – Howard Tr.) at 137:19–20:1;
 5   (Exhibit V – Howard Report), PP. 4, 6.
 6         140.   Disputed. JDPI’s assertion is not supported by the cited evidence. Mr. Howard
 7   testified that many of the labels on the round bottles were not visible (Exhibit U – Howard
 8   Tr.) at 192:2–193:5, 193:21–194:16.
 9         141.   In the context of the present Motion, the materiality of this fact is disputed.
10   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
11   separate statement of facts should include only those facts that the Court needs to decide the
12   motion.”).
13         142.   Disputed. JDPI’s rewording of Mr. Howard’s testimony is misleading. Mr.
14   Howard’s opinion is that “the smaller direct manufacturing cost of a round bottle contributes
15   to its popularity, but the overall advantages of square bottles make them more attractive
16   choices to industry leaders.” (Exhibit W – Howard Declar.) ¶ 11. In any event, this assertion
17   is immaterial because it is not necessary to deciding JDPI’s Motion for Summary Judgment.
18   See L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the
19   Court needs to decide the motion.”).
20         143.   Disputed. The cited testimony does not support this assertion:
21                       Q: Do you know anything about how the labels are
                         applied to the Jack Daniel’s bottle?
22

23                       A: Not specifically. I know how labels are applied to a lot
                         of bottles.
24
     (Exhibit U – Howard Tr.) at 197:20–23.
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 1          144.   Disputed. This assertion is contradicted by Mr. Howard’s testimony that round
 2   bottles can make labeling more difficult (Exhibit V – Howard Report) PP. 4, 6.
 3          145.   In the context of the present Motion, the materiality of this fact is disputed.
 4   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 5   separate statement of facts should include only those facts that the Court needs to decide the
 6   motion.”).
 7          146.   Disputed. JDPI’s rewording of Mr. Howard’s testimony is misleading. Mr.
 8   Howard testified that he did not have knowledge about the labeling and filling lines for Jack
 9   Daniel’s whiskey specifically, but that he’s “familiar with labeling, the way labeling works”
10   (Exhibit U – Howard Tr.) at 170:10–11, 197:20–23. Accordingly, this assertion is immaterial.
11   See L.R.Civ.56.1 (“The separate statement of facts should include only those facts that the
12   Court needs to decide the motion.”).
13          147.   Disputed. Mr. Howard testified that knowledge of chipping and breaking
14   during the labeling and filing of glass bottles was based on his experience—and while he
15   cited to a particular event that happened in the 1970s, he did not say that he does not have
16   more recent experience (Exhibit U – Howard Tr.) at 171:22–173:6. Further, this assertion is
17   immaterial. See L.R.Civ.56.1 (“The separate statement of facts should include only those
18   facts that the Court needs to decide the motion.”).
19          148.   In the context of the present Motion, the materiality of this fact is disputed.
20   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
21   separate statement of facts should include only those facts that the Court needs to decide the
22   motion.”).
23          149.   Disputed. Mr. Howard’s belief about the Jack Daniel’s bottle’s gripability was
24   based on his experience that the bottle has a very natural form in terms of being able to grip
25   (Exhibit U – Howard Tr.) at 181:2–7. In any event, this fact is immaterial because it is not
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 1   necessary to deciding JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 2   separate statement of facts should include only those facts that the Court needs to decide the
 3   motion.”).
 4          150.   In the context of the present Motion, the materiality of this fact is disputed.
 5   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 6   separate statement of facts should include only those facts that the Court needs to decide the
 7   motion.”).
 8          151.   In the context of the present Motion, the materiality of this fact is disputed.
 9   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
10   separate statement of facts should include only those facts that the Court needs to decide the
11   motion.”).
12          152.   In the context of the present Motion, the materiality of this fact is disputed.
13   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
14   separate statement of facts should include only those facts that the Court needs to decide the
15   motion.”).
16          153.   In the context of the present Motion, the materiality of this fact is disputed.
17   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
18   separate statement of facts should include only those facts that the Court needs to decide the
19   motion.”).
20          154.   Disputed. JDPI misrepresents Mr. Howard’s testimony. Rather, Mr. Howard
21   referred to the embossed signature as a “cost factor” because it requires the purchase of a
22   separate manufacturing tool (Exhibit U – Howard Tr.) at 200:18. However, Mr. Howard
23   makes clear that the purchase of a non-depreciating asset is a one-time expenditure that does
24   not affect the cost per-unit in the long-term. (Exhibit W – Howard Declar.) ¶ 16. Further, this
25   fact is immaterial because it is unnecessary to deciding JDPI’s Motion for Summary
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 1   Judgment. See L.R.Civ.56.1 (“The separate statement of facts should include only those facts
 2   that the Court needs to decide the motion.”).
 3          155.   Disputed. Mr. Howard lacks personal knowledge as to what “cost-trade-offs”
 4   are associated with the Jack Daniel’s bottle design in particular, and JDPI did not establish
 5   foundation for this testimony.
 6          156.   Disputed. Mr. Howard is not qualified to testify to the frequency of the use of
 7   any given type of bottle in the marketplace, and JDPI did not establish foundation for this
 8   testimony. Additionally, the Sacra report contradicts JDPI’s assertion by finding that 36% of
 9   participants in the bourbon/Tennessee whiskey market use a square bottle with a fluted neck.
10   (Exhibit P - Sacra Report), p. 23. Additionally, Brown-Forman’s own market research shows
11   that consumers expect bourbon/Tennessee whiskey to appear in a square bottle with a fluted
12   neck. (Exhibit R – Hungerford Tr.) at 93:5–11.
13          157.   Disputed. Mr. Howard’s cited testimony was limited to direct manufacturing
14   costs. (Exhibit W – Howard Declar.) ¶ 6. Additionally, Mr. Howard’s report contradicts
15   JDPI’s assertion by making clear that square bottles provide for easier labeling and filling.
16   (Exhibit V – Howard Report) pp. 3–4, 6; (Exhibit U – Howard Tr.) at 210:21–211:9.
17          158.   VIP does not dispute that 16% of whiskey bottles in the market contain all three
18   of the elements of the allegedly protected Registration. However, VIP disputes this assertion
19   to the extent JDPI attempts to minimize its significance. For example, Jim Beam, Jack
20   Daniel’s biggest competitor in the U.S., (Exhibit D – Epps Tr.) at 102:3–5, uses a bottle that
21   has all three elements. (Exhibit P - Sacra Report), pp. 23.
22          159.   VIP does not dispute that there are alternative designs for whiskey bottles;
23   however, it disputes this assertion on the basis that JDPI relies on an improper definition of
24   the market. As discussed in Mr. Wolinsky’s report, when examining the Jack Daniel’s
25   packaging in comparison with other market competitors, the focus must be narrowed to the
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 1   bourbon/Tennessee segment of the whiskey market. (Exhibit Q – Wolinsky Report), p. 5.
 2   Additionally, Mr. Sacra testified that he focused his report on the American bourbon/whiskey
 3   industry because that was “staying with the parody of American whiskey/bourbon. And to do
 4   something that was outside the scope of that would be overly broad.” (Exhibit J – VIP Tr.) at
 5   110:2–19, 113:19–22.
 6          160.   In the context of the present Motion, the materiality of this fact is disputed.
 7   This fact is unnecessary to JDPI’s Motion for Summary Judgment. See L.R.Civ.56.1 (“The
 8   separate statement of facts should include only those facts that the Court needs to decide.
 9          161.   Disputed. This fact is misleading because, while it is true that no one has
10   opposed the Registration, the Patent and Trademark Office’s examining attorney warned
11   JDPI that the registration application could be refused on both functionality and non-
12   distinctiveness grounds. See Declaration of Christopher Larkin (Larkin Declar.) Exhibit 6.
13          162.   Disputed. Mr. Sacra is not qualified to testify as to whether Jack Daniel’s
14   competitor’s rights have been impacted by the registration, and JDPI has not established
15   foundation to prove otherwise.
16          163.   For purposes of this Motion, this fact is not disputed.
17          164.   For purposes of this motion, this fact is not disputed.
18          165.   Disputed. Mr. Sacra is not a legal expert and was not offering a legal opinion
19   concerning whether JDPI’s advertising touts the utilitarian advantages of the Jack Daniel’s
20   packaging.
21          166.   Disputed. Mr. Sacra is not a legal expert and was not offering a legal opinion
22   on whether the Jack Daniel’s packaging was ornamental.
23          167.   Disputed. Mr. Sacra is not a legal expert and is not qualified to testify as to
24   whether Jack Daniel’s competitors’ rights have been impacted by the registration.
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 1                               STATEMENT OF ADDITIONAL FACTS
 2          168.   VIP sells chew toys for dogs. Among VIP’s products is the SILLY
 3   SQUEAKERS® line of chew toys, which includes a line of rubber squeaky toys shaped like
 4   bottles, with names parodying well-known beverages, such as “Mountain Drool,”
 5   “Hein’e’sniff’n,” and the toy at issue in this case, pictured below. See Plaintiff’s Statement of
 6   Facts in Support of its Motion for Summary Judgment Against Defendant Jack Daniel’s
 7   Properties, Inc. (Doc. 111) (“VIPSOF”) at ¶¶ 1-2.
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17          170.   The Silly Squeakers Toy is, exactly as the name says, a silly squeaker toy
18   (Exhibit F – Bad Spaniel’s Toy).
19          171.   The Silly Squeakers Toy invites buyers to imagine “how funny your dog would
20   be if he was like us.” Its message to consumers is that “it is ok to make fun of well-known
21   brands.” (Exhibit G – Sacra Declar.) (Exhibit E – Sacra Tr.).
22          172.   The VIP Toy is an irreverent parody of a major American whiskey brand. VIP
23   sells only a few thousand of the Silly Squeaker Toy in a year, and total revenue from the
24   product amounts to a tiny fraction of the cost of this litigation—litigation which has,
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 1   ironically, become necessary to establish that indeed it is still okay to make fun of well-
 2   known brands. (Exhibit G – Sacra Declar.) ¶20.
 3         173.      The SILLY SQUEAKERS® toy resembles an American whiskey bottle.
 4   (Exhibit G – Sacra Declar.) ¶17.
 5         174.      It borrows the common liquor bottle shape and label graphics similar to those
 6   used by several American whiskey makers, including Jack Daniel’s. (Exhibit G – Sacra
 7   Declar.) ¶17.
 8         175.      American whiskey packaging from various sources are pictured here:
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16         See VIPSOF ¶ 23; (Exhibit A – Answer to Amd. Comp.) ¶23-26; See also Defendant
17   and Counterclaimant Jack Daniel’s Properties, Inc.’s Responses to Plaintiff’ and Counter-
18   defendant’s First Set of Requests for Admissions (Exhibit X – Responses to RFA) ¶2-10.
19         176.      The packaging of many other whiskeys and spirits are also similar (Exhibit G –
20   Sacra Declar.) ¶17 and Exhibit G.
21         177.      Other products in the industry with similar packaging are shown here:
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25   (Exhibit G – Sacra Declar.) ¶17 and Exhibit B.
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 1         178.      The Silly Squeakers Toy also includes the words “Bad Spaniels” and “Old No.
 2   2” on the label. (Exhibit F – Bad Spaniel’s Toy).
 3         179.      VIP was careful to ensure the toy is also distinctly original. (Exhibit G – Sacra
 4   Declar.) ¶19.
 5         180.      The Silly Squeakers Toy does not use the “Jack Daniel’s” name, the number
 6   “7,” the embossed “Jack Daniel’s” signature on the bottle; the same filigree design on the
 7   label; or the three-sided body label. (VIPSOF )¶¶ 89, 91; (Exhibit G – Sacra Declar.) ¶19.
 8         181.      VIP    prominently      placed        its   SILLY
 9   SQUEAKERS® trademark on the VIP Product’s hangtag,
10   along with a cartoon dog, and changed the location of its
11   elements, as shown here:
12         (Exhibit G – Sacra Declar.) ¶18. VIP placed a
13   disclaimer on the packaging, stating that the “[P]roduct and
14   its design belong to VIP Products,” and that the Product is
15   not “affiliated with Jack Daniel Distillery,” (Exhibit F – Bad
16   Spaniel’s Toy); (Exhibit G – Sacra Declar.) ¶18.
17         182.      The VIP Toy’s label refers to “43% poo by vol.” and “100% smelly.” (Exhibit
18   F – Bad Spaniel’s Toy)
19         183.      Jack Daniel’s Global Brand Director testified that he found the VIP Product to
20   be in “bad taste,” and stated that JDPI would never license the JDTW Marks or Bottle Dress
21   for any product it considered to be in bad taste. (VIPSOF ) ¶ 114; (Exhibit D – Epps Tr.) at
22   117:6-21.
23         184.      There are over 50 specific design differences between the SILLY
24   SQUEAKERS® toy and the JDTW bottle packaging. (Exhibit G – Sacra Declar.) ¶19.
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 1          185.     The SILLY SQUEAKERS® Bad Spaniel’s dog toy design uses as many as 15
 2   different generic and non-exclusive features found in various combinations on bottles of
 3   Kentucky bourbon and Tennessee whiskey from different sources. (Exhibit G – Sacra
 4   Declar.) ¶21.
 5          186.     VIP’s SILLY SQUEAKERS® Bad Spaniel’s toy is typically sold with other
 6   models of SILLY SQUEAKERS® toys parodying other beer, wine, liquor and soda brands.
 7   (VIPSOF ) ¶ 4.
 8          187.     The Silly Squeakers Toy is not sold in the same channels of trade as JDTW.
 9   (VIPSOF ) ¶¶ 94-96, 99, 101, 103-104.
10          188.     It is primarily sold in the specialty dog-supply market, and JDPI is not a
11   competitor in that market. (VIPSOF ) ¶¶ 94-96, 99, 101, 103-104.
12          189.     JDPI has never licensed the JDTW Marks and Bottle Dress for use on a dog
13   toy, and it has no intention to do so in the future. (VIPSOF ) ¶¶ 98-99, 103-04.
14          190.     JDPI claims that the “Jack Daniel’s Trade Dress” is “an iconic trade dress
15   consisting of” several combined elements. The specific features of the alleged Jack Daniel’s
16   Trade Dress vary, depending on what JDPI representative describes them and when, but four
17   fundamental features are a: (1) square bottle and ribbed neck: (2) black cap; (3) black neck
18   wrap with white printing; and (4) black front label with white printing and filigreed border.
19   The alleged Trade Dress, depicted at right, also includes the “Old No. 7” slogan on the neck
20   wrap and front label and the “Jack Daniel’s” brand name on the front label only, along with
21   the words “Tennessee” and “Sour Mash Whiskey.” (Exhibit A – Answer to Amd. Comp.) ¶
22   14; (Exhibit B – Answer and Counterclaim) ¶ 6; Defendant and Counterclaimant Jack
23   Daniels Properties, Inc.’s Responses to Plaintiff and Counter-Defendant’s First Set of Non-
24   Uniform Interrogatories (Exhibit Y – Responses to NUI) ¶ 8.
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 1          191.    JDPI claims also that the combination of features that comprise the alleged
 2   Trade Dress have been used for Jack Daniel’s whiskey since the 1950s. (VIPSOF ) ¶ 20.
 3          192.    In 2011, however, JDPI modified the bottle shape and label, creating a new
 4   design that is referred to by JDPI as the “Evolution Bottle” design. (VIPSOF ) ¶ 9; (Exhibit N
 5   – Taylor Tr.) at 8:9-9:11.
 6          193.    Neither the alleged Jack Daniel’s Trade Dress claimed to be used since the
 7   1950s nor the new alleged Jack Daniel’s Trade Dress using the Evolution Bottle design
 8   introduced in 2011 are registered with the U.S. Patent and Trademark Office (“PTO”).
 9   (VIPSOF ) ¶ 14.
10          194.    JDPI claims common law “iconic trade dress” rights in the combination of the
11   common bottle shape and generic and non-exclusive labeling and graphics used by the VIP
12   pet toy. (VIPSOF ) ¶¶ 15-17, 21-22.
13          195.    JDPI cannot, however, settle on exactly what comprises its “iconic trade dress.”
14          196.    VIP’s expert, Martin Wolinsky testified that if other whiskey producers were
15   prevented from using this style of packaging that signifies to consumers that it is an
16   American whiskey, the other producers would be at a disadvantage. (Exhibit Q – Wolinsky
17   Report) ¶12.
18          197.    Mr. Wolinsky is an expert in the spirits and Whiskey industry, and he testified
19   that in his experience, these packaging elements are commonly used in the industry to
20   designate a product as American whiskey/bourbon.” (Exhibit Q – Wolinsky Report) ¶¶ 3-5.
21          198.    Research relied on by JDPI/Brown-Forman reveled that consumers perceive or
22   expect Kentucky or Tennesse whiskey to appear in a square bottle with a fluted neck.
23   [Hungerford 93:5-11].
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 1         199.   VIP submitted expert testimony identifying several significant utilitarian
 2   advantages provided by the structural aspects of the alleged Trade Dress. (Exhibit V –
 3   Howard Report).
 4         200.   VIP’s evidence reveals that alternative bottle designs do not offer the same
 5   advantages as the alleged Jack Daniel’s Trade Dress. (Exhibit V – Howard Report).
 6         201.   VIP has submitted evidence in conjunction with its own Motion for Summary
 7   Judgment on this issue that features of the alleged Trade Dress generate economies in other
 8   aspects of the overall cost of the package design. (VIPSOF ) ¶ 36.
 9         202.   In fact, both parties’ evidence confirms that the combined features of the
10   alleged common law Jack Daniel’s Trade Dress is common bottle packaging in the whiskey
11   market that, when claimed by JDPI as its exclusive trade dress, has placed (and will continue
12   to place) JDPI competitors at a significant non reputation related disadvantage. (Exhibit R –
13   Hungerford Tr.) at 93:5-11. (VIPSOF ) ¶ 36.
14         203.   JDPI admits that its direct competitors in the whiskey industry use bottle
15   designs that are very similar to the alleged Jack Daniel’s Trade Dress. See Motion and
16   Memorandum of Points and Authorities in Support of Motion for Partial Summary Judgment
17   (Doc. 101) at 19:15-17; (Exhibit A – Answer to Amd. Comp.) ¶¶ 22-23; (Exhibit X –
18   Responses to RFA) ¶ 2.
19         204.   Many brands of Kentucky Bourbon or Tennessee Whiskey that use (1) a square
20   bottle with a fluted neck, (2) a black cap, and (3) a black neck-wrap closure. (Exhibit G –
21   Sacra Declar.); (VIPSOF ) ¶¶ 29-30.
22         205.   As a result, “giving Jack Daniel’s exclusive rights to use [those] features . . .
23   would impose a competitive disadvantage on” the other brands that currently use them. “The
24   disadvantage would be to deprive those other competing companies of the ability to use a
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 1   standard industry ‘uniform’ that identifies any whiskey as an American whiskey.” (Exhibit Q
 2   – Wolinsky Report).
 3            206.   Features of the alleged Jack Daniel’s Trade Dress are intended to evoke history
 4   and authenticity, masculinity, honesty and not taking yourself too seriously (Exhibit C –
 5   Gooder Tr.) at 82:4-7.
 6            207.   Those features, including the square bottle and fluted neck, convey to
 7   consumers that product inside the bottle packaging is a Kentucky or Tennessee whiskey with
 8   an old time or classic heritage (Exhibit I – Roush Tr.) at 60:10-20.
 9            208.   JDPI made its 2011 re-design of the prior whiskey bottle “packaging structure”
10   and adopted the Evolution Bottle design in order to “communicate that Jack Daniel’s
11   [whiskey] is worth more.” See JDPI-CON Documents (Exhibit Z – JDPI-CON Docs) at
12   00037.
13            209.   JDPI obtained consumer research revealing that the “Labeling Graphics” of the
14   alleged Jack Daniel’s Trade Dress elevate “package appeal/premiumness.” and the new bottle
15   design “result[s] in a more contemporary look and feel” and “contribute[s] to a more
16   premium/sophisticated image,” including the following specific functions: the ribbon closure
17   “serves a functional cue that signals the product inside is of ‘high quality’ and has not been
18   ‘altered, molested or changed in anyway; the wrap closure “felt functional and suitable,
19   ensuring products’ pureness and quality;” the embossed signature “communicates
20   authenticity, pride, craftsmanship and American;” and packages without the “key visual
21   equities of the JDTW package (i.e., Old No. 7 icon, filigree border/frame, arched brand
22   name, Tennessee Whiskey, etc.). . . appear too plain/ordinary and may fail to convey a high
23   quality message. . .” (Exhibit Z – JDPI-CON Docs) at 42-50; 70-73; 111, 138, 259.
24            210.   Additional consumer research by JDPI for the “Jack Daniel’s Tennessee
25   Whiskey Packaging Graphics/Structure Redesign” revealed that the new redesigned bottle
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 1   elements were more functional, in that they were “Not Confusing” Easy To Read” and “Not
 2   cluttered.” The new design elements were also more “Eye-Catching” “Bold,” and “Unique.”
 3   (Exhibit Z – JDPI-CON Docs) at 259.
 4           211.   VIP did not copy all elements of the Jack Daniel’s Tennessee Whiskey bottle
 5   packaging but copied only its generic and non-exclusive features and only to the extent
 6   necessary for parody. (Exhibit G – Sacra Declar.).
 7           212.   None of the focus groups that viewed the VIP pet toy confused it with Jack
 8   Daniel’s whiskey. VIPSOF ¶ 115.
 9           213.   JDPI has admitted that it advertises its Jack Daniel’s product and not the
10   packaging in which it is bottled.
11           214.   The JDPI evidence reveals that none of its advertisements include any textual
12   or visual references directing consumers’ attention to features of the alleged Jack Daniel’s
13   Trade Dress. (VIPSOF ) ¶¶ 59-78.
14           215.   None of the articles discussing Jack Daniel’s whiskey refer to the alleged Jack
15   Daniel’s Trade Dress itself, or any of its elements other than the “Jack Daniel’s” brand name
16   and the “Old No. 7” mark. (VIPSOF ) ¶ 76.
17           216.   JDPI has admitted that several of its competitors—including Jim Beam, its
18   largest competitor—use a number of the same design elements in their trade dress for their
19   Kentucky bourbon and Tennessee whiskey. (VIPSOF ) ¶¶ 24-26.
20           217.   The licensing manager for Brown-Forman, JDPI’s corporate parent, could not
21   recall Brown-Forman ever having conducted a study of any kind to test consumer recognition
22   of the shape of the bottle currently used for Jack Daniel’s Tennessee Whiskey. (VIPSOF )
23   ¶ 44.
24           218.   JDPI admits that “some spirits companies already use elements of” the alleged
25   Jack Daniel’s Trade Dress, Motion, 18:15–16, and that “other bottles for whiskey have
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 1   combinations of various shapes, black caps, black neck wrap closures with white printing
 2   bearing different graphics, marks and design elements, and black front labels with white
 3   printing bearing different graphics, marks and design elements.”
 4          219.   VIP’s evidence confirms that a majority of JDPI’s direct competitors use some
 5   combination (if not all) of the Trade Dress’ claimed elements. (VIPSOF ) ¶¶ 22-30.
 6          220.   VIP evidence reveals that there are many unlicensed clothing products for sale
 7   online that that incorporate elements of the alleged Jack Daniel’s Trade Dress. (Exhibit G –
 8   Sacra Declar.)
 9          221.   VIP discovered over a hundred products imitating variations on the
10   combination of elements that comprise the alleged Jack Daniel’s Trade Dress, including the
11   following wide variety of t-shirts below:
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23   (VIPSOF ) ¶ 31; (Exhibit P - Sacra Report)

24          222.   None of those t-shirts or other products were authorized by JDPI.

25          223.   JDPI has not disclosed any evidence indicating that it had taken any action to

26   stop any of these unlicensed used of the alleged Jack Daniel’s Trade Dress. (Exhibit I –

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 1   Roush Tr.) at 54: 8-22.
 2          224.   JDPI has made numerous inconsistent statements regarding the elements of its
 3   claimed Jack Daniel’s Trade Dress. (VIPSOF ) ¶¶ 15-22.
 4          225.   Features of the alleged Trade Dress are commonly used to package distilled
 5   spirits, including Jim Beam, bourbon whiskey. (VIPSOF ) ¶¶ 24-26, (Exhibit G – Sacra
 6   Declar.) (Exhibit Q – Wolinsky Report) pp. 5–6.
 7          226.   JDPI recognizes Jim Beam as the “biggest competitor,” to Jack Daniel’s
 8   whiskey (Exhibit D – Epps Tr.) at 102:3-5 (recognizing that Jim Beam as the “biggest
 9   competitor,” to Jack Daniel’s whiskey); see also id. at 128:9-11 (acknowledging that
10   competitor George Dickel uses a very similar bottle design. (VIPSOF ) ¶¶ 24-26.
11          227.   Brown-Forman’s consumer research confirms that the JDTW bottle packaging
12   has an “old school label” and looks “straight out of an old-time saloon. (Exhibit Z – JDPI-
13   CON Docs) at 48-50.
14          227.   Features of the alleged Trade Dress are commonly used to package distilled
15   spirits, including another brand Tennessee Whiskey, George Dickel, and the “biggest
16   competitor” to Jack Daniel’s whiskey: Jim Beam bourbon whiskey (VIPSOF ) ¶¶ 24-26;
17   (Exhibit D – Epps Tr.) at 102:3-5.
18   228.   JDPI also owns a PTO registration of a mark for “distilled spirits” that “consists of the
19   three-dimensional configuration of the square shaped bottle container for
20   the goods, having an embossed ridge or scalloped design on the neck
21   portion of the bottle, and an embossed signature design comprised of the
22   words ‘JACK DANIEL’” (the “Bottle Registration”), (Exhibit A – Answer
23   to Amd. Comp.) ¶ 21, and that is depicted as shown here               in the
24   registration certificate for Registration No. 4,106,178: (Exhibit A –
25   Answer to Amd. Comp.) ¶¶ 18 and 20; Declaration of Christopher Larkin
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 1   (Larkin Declar.) Exhibit 6].
 2          229.   The utilitarian advantages of the JD Signature Bottle as packaging for distilled
 3   spirits are: (1) the square bottle shape “reduces the cost of packing, shipping and displaying
 4   the bottle” and “enhances the grip on the body of the bottle;” (2) the “embossed scalloped
 5   design on the neck portion of the bottle improves the grip of the bottle. . .from an ergonomic
 6   standpoint”; and (3) an “embossed signature on the bottle is useful to identify the product
 7   easily in the retail marketplace” and “provide[es] an indelible identifier of the product
 8   inside.” (Exhibit V – Howard Report) pp. 3-4.
 9          230.   JDPI admits that different bottle shapes “create different difficulties with
10   respect to the bottling process” and that “[e]very shape has its own set of issues.” (Exhibit N
11   – Taylor Tr.) at 65:5-14.
12          231.   The Bottle Registration is for the Jack Daniel’s Whiskey bottle without its
13   labels (the “Bottle Shape”). Declaration of Christopher Larkin (Larkin Declar.) Exhibit 6 at
14   JDPI003147; (Exhibit R – Hungerford Tr.) at 74:15-75:1.
15          232.   JDPI agrees that a significant number of American consumers associate a
16   square bottle shape with any whiskey or bourbon product. (Exhibit D – Epps Tr.) at 108:1-9.
17          233.   In fact the only feature of the Bottle Design that is not used already by
18   competitors of Jack Daniel’s whiskey is the “Jack Daniel” name used in the signature.
19          234.   The combined features of the Bottle Design, excluding only the “Jack Daniel”
20   name itself, conveys to customers that the bottle contains liquor – from no single particular
21   source. (Exhibit G – Sacra Declar.) ¶¶ 9-11 and Exhibit C.
22          235.   JDPI has never conducted a study to determine how well-recognized the Jack
23   Daniel’s bottle shape is without other elements. (Exhibit D – Epps Tr.) at 106:15-107:18.
24          236.   In fact, JDPI admits that a significant number of American consumers associate
25   a square bottle shape with any whiskey or bourbon product. (Exhibit D – Epps Tr.) at 108:1-9
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 1          237.   JDPI admits that the PTO registration 4,106,178 is not incontestable. (Exhibit
 2   Y – Responses to NUI) ¶ 24; (Exhibit A – Answer to Amd. Comp.) ¶ 19; (Exhibit B –
 3   Answer and Counterclaim) ¶ 11.
 4          238.   The Jack Daniel’s Bottle Configuration was introduced in June 2011 and there
 5   have been three recent generations of the Jack Daniel’s bottle. The current bottle JDPI refers
 6   to as “the evolution bottle.” (Exhibit N – Taylor Tr.) at 8:9-9:11.
 7          239.   The “bevel design” sometimes referred to as the “current” bottle was in use
 8   from approximately 1999 through 2011. (Exhibit N – Taylor Tr.) at 9:12-10:21.
 9          240.   JDPI changed the design of the Jack Daniel’s bottle because their chief
10   executive had a vision for taking small incremental steps at elevating the premiumness of
11   Jack Daniel’s. (Exhibit N – Taylor Tr.) at 11: 24-12:8.
12          241.   JDPI changed the Jack Daniel’s bottle when it redesigned it in 2011 so that (1)
13   the shoulders were more squared, (2) added beveled edges to the new bottle, (3) removed the
14   lines on the neck and (4) overall gave the bottle a cleaner look than the previous bottle.
15   (Exhibit I – Roush Tr.) at 94:9-95:10.
16          242.   The “evolution bottle” has been in use since it was introduced in 2011.
17   (Exhibit N – Taylor Tr.) at 9:12-20:2.
18          RESPECTFULLY SUBMITTED this 11th day of December, 2015.
19
                                                    DICKINSON WRIGHT PLLC
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21                                                  By: s/David G. Bray
                                                        David G. Bray
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 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on December 11th 2015, I electronically transmitted the above
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to all CM/ECF registrants:
 5
                                       s/ Kylie M. Boie
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